      Case 2:19-cv-02030-MWF-AGR Document 25 Filed 07/08/19 Page 1 of 1 Page ID #:155




                                             UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

 William A. Masters,                                               CASE NUMBER:
                                                                                         CV 19-2030-MWF (AGRx)

                                                   PLAINTIFF(S),
                                 v.
                                                                   ORDER ON MOTION FOR LEAVE TO APPEAL IN
 Xavier Becerra,                                                   FORMA PAUPERIS:
                                                                   G 28 U.S.C. 753(f)
                                                                   ✔ 28 U.S.C. 1915
                                                                   G
                                                 DEFENDANT(S).


 The Court, having reviewed the Motion for Leave to Appeal In Forma Pauperis and Affidavit thereto, hereby ORDERS: (The
 check mark in the appropriate box indicates the Order made.)

 ✔ The court has considered the motion and the motion is DENIED. The Court certifies that the proposed appeal is not
 G
   taken in good faith under 28 U.S.C. 1915(a) and is frivolous, without merit and does not present a substantial question
   within the meaning of 28 U.S.C. 753(f).

 The Clerk is directed to serve copies of this Order, by United States mail, upon the parties appearing in this cause.



           July 8, 2019
                        Date                                                         Unit
                                                                                     United
                                                                                        ted
                                                                                          e States Dist
                                                                                                   District
                                                                                                     sttri
                                                                                                        r ct
                                                                                                           ct JJudge
                                                                                                                u ge
                                                                                                                ud

 G The Court has considered the motion and the motion is GRANTED. It appears to the Court that the proposed appeal
   is taken in good faith within the meaning of 28 U.S.C. 1915(a). The Court certifies that the proposed appeal is not
   frivolous, that it presents a substantial question. The within moving party is authorized to prosecute an appeal in forma
   pauperis to the United States Court of Appeals for the Ninth Circuit without pre-payment of any fees or costs and without
   giving security therefor.

     G A transcript is needed to decide the issue presented by the proposed appeal, all within the meaning of 28 U.S.C. 753
       (f). The Court Reporter is directed to prepare and file with the Clerk of this Court an original and one copy of a
       transcript of all proceedings had in this Court in this cause; the attorney for the appellant is advised that a copy of
       the transcript will be made available. The expense of such transcript shall be paid by the United States pursuant to
       28 U.S.C. 1915(c) and 753(f).

The Clerk is directed to serve copies of this Order upon the parties appearing in this cause.




                          Date                                                     United States District Judge

  cc: Ninth Circuit Court of Appeals

 A-18 ORDER (02/08)                   ORDER ON MOTION FOR LEAVE TO APPEAL IN FORMA PAUPERIS
